Case 3:21-cr-02839-BTM Document 21 Filed 12/01/21 Pagel

 

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CLERK/US, DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

 
 
  
  

UNITED STATES DISTRICT COUR
SOUTHERN DISTRICT OF CALIFO

 

 

 

 

 

_ UNITED STATES OF AMERICA, aS DEPUTY }
Case No. 21-cr-02839-BTM
Plaintiff,
vs.
JUDGMENT OF DISMISSAL
Agustin Jr Lopez-Gonzalez —
Defendant.

 

 

IT APPEARING that the defendant is now entitled to be discharged for the reason that:

an indictment has been filed in another case against the defendant and the Court has
granted the motion of the Government for dismissal of this case, without prejudice; or

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the Court has dismissed the case for unnecessary delay; or

the Court has granted the motion of the Government for dismissal, without prejudice; or
the Court has granted the motion of the defendant for a judgment of acquittal; or

a jury has been waived, and the Court has found the defendant not guilty; or

the jury has returned its verdict, finding the defendant not guilty;

of the offense(s) as charged in the Indictment/Information:

Ct1- 21:952,960 - Importation of Methamphetamine

 

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Ct 2 - 21:952,960 - Importation of Heroin

 

 

Dated: Lil Ze / 62
‘ , Hon. Bernard G. Skomal
United States Magistrate Judge
